           Case 3:20-cv-01626-JD Document 95 Filed 02/18/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                           Civil Minutes


Date: February 18, 2021                                                Judge: Hon. James Donato

Time: 28 Minutes

Case No.        3:20-cv-01626-JD
Case Name       In re Robinhood Outage Litigation

Attorney(s) for Plaintiff(s):     Anne Marie Murphy
Attorney(s) for Defendant(s):     Maeve O’Connor

Deputy Clerk: Lisa R. Clark                                           Court Reporter: Marla Knox

                                         PROCEEDINGS

Motion to Dismiss -- Held (by Zoom webinar)

                                      NOTES AND ORDERS

The claims against defendant Robinhood Markets, Inc., are dismissed without prejudice for the
reasons discussed at the hearing. If warranted by discovery, plaintiffs may request leave to
amend to add Robinhood Markets, Inc., as a defendant.

The motion to dismiss and to strike class allegations, Dkt. No. 76, is denied in all other respects
for the reasons discussed at the hearing.

By March 4, 2021, the parties will either select a private mediator and file a joint statement
identifying that person, or request that the case be referred to a magistrate judge for settlement.
